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                  IN THE UNITED STATES DISTRICT COURT
                 FOR T HE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION



    One Hundred Miles,                              Case No. 4:21-cv-00134-RSB-CLR

                        Plaintiff,
                                                    Federal Defendants’ Memorandum
                                                    in Opposition to Plaintiff’s Motion
          v.
                                                    for Temporary Restraining Order
                                                    and Preliminary Injunction (ECF
    U.S. Army Corps of Engineers, and               No. 5).
    Col. Joseph Geary, in his official
    capacity as District Commander of the
    Savannah District,

                        Defendants. 1

                                       I NTRODUCTION

         Sedimentation has decreased water depth at the entrance to the Congressionally-

authorized navigation channel in Brunswick Harbor. As a result, cargo vessels need to

wait for high tide to safely enter the channel, disrupting shipping in the process. The U.S.

Army Corps of Engineers has therefore contracted for maintenance dredging to remove

the sediment. The dredging is set to begin on May 25, lasting twenty days.

         Plaintiff seeks to preliminarily enjoin the dredging, fearing it will kill loggerhead

sea turtles (a threatened species). To make the showing of irreparable harm necessary for

preliminary injunctive relief, however, Plaintiff must clearly demonstrate that the



1
 Col. Geary is substituted for Col. Daniel Hibner under Federal Rule of Civil Procedure
25(d).

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dredging is likely to result in harm to the loggerhead population significant enough to

impact Plaintiff’s members’ enjoyment of the species. Plaintiff has not made that

showing. To the contrary, the National Marine Fisheries Service—one of the agencies

Congress tasked with implementing the Endangered Species Act—has concluded that all

Corps maintenance dredging activity throughout the South Atlantic (let alone just that

planned for this spring in Brunswick Harbor) is not expected to cause an appreciable

reduction in the likelihood of either the survival or recovery of loggerhead sea turtles.

         Because Plaintiff has failed to demonstrate that its members will be irreparably

harmed and because the balance of harms weighs against an injunction, Plaintiff’s motion

for preliminary injunctive relief should be denied. That is the necessary outcome even

though Plaintiff will, on the merits of its case, likely succeed in achieving a remand to the

Corps for the agency to explain why it concluded that it did not need to conduct further

analysis under the National Environmental Policy Act, or, should the Corps so choose, to

conduct further analysis.

                     F ACTUAL AND R EGULATORY B ACKGROUND

I.       The Brunswick Harbor Federal Navigation Channel.

         This case involves the U.S. Army Corps of Engineers’ maintenance of the

Congressionally-authorized navigation channel in Brunswick Harbor. See Rivers and

Harbors Act of 1950, Pub. L. 81-516, § 101, 64 Stat. 163, ch. 188 (May 17, 1950); Water

Resources Development Act or 1986, Pub. L. 99-662, § 847, 100 Stat. 4178 (Nov. 17,

1986).




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       In 1996, the Corps’ Chief Engineer recommended to Congress that the channel be

deepened, thereby reducing tide-related navigational delays and increasing efficiency by

avoiding the need for vessels to light load.2 See Oct. 6, 1996, Memo. from Lt. Gen. Joe

N. Ballard 1, 2 (attached as Ex. A); Final Env’t Impact Statement, Brunswick Harbor

Deepening Project (“1998 EIS”) ii, 1 (Mar. 1998), ECF No. 5-16 at 3, 12. The Corps

completed an Environmental Impact Statement for the deepening project in 1998, see

generally ECF No. 5-16, and Congress authorized the deepening in 1999. See Water

Resources Development Act of 1999, Pub. L. No. 106-53, § 101(a)(19), 113 Stat. 269,

277 (Aug. 17, 1999).3

       The navigation channel entrance is located 10.7 miles off St. Simons Island, where

the authorized depth is thirty-eight feet. Decl. of Jonathan A. Broadie (“Broadie Decl.”)

¶ 2. The channel enters the inner harbor at a point adjacent to the St. Simons Island

lighthouse. Broadie Decl. ¶ 2. In the inner harbor, the navigation channel’s authorized

depth is thirty-six feet, running through the Brunswick, East, Turtle, and South

Brunswick Rivers. Broadie Decl. ¶ 2. The channel serves the Colonel’s Island, Mayor’s

Point, and East River shipping terminals. Broadie Decl. ¶ 3. Brunswick Harbor is a


2
 “Light-loading” involves cargo ships taking on less than their full capacity of cargo in
order to reduce vessel draft. See Decl. of Katherine E. Brutsché (“Brutsché Decl.”) ¶ 5.
3
  Congress recently authorized the Corps to undertake a new feasibility study analyzing
the need for further channel modifications. See 2016 Water Resources Development Act,
Pub. L. No. Pub. L. 114-322, § 1201(12), 130 Stat. 1628, 1682 (Dec. 16, 2016). The
Corps is in the process of completing that feasibility study and the accompanying NEPA
review. A Draft Integrated Feasibility Report and Environmental Assessment was
released for comment in June 2020. See Decl. of Mary Richards (“Richards Decl.”) ¶ 2.

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significant and critical regional and national port. See Broadie Decl. ¶ 3. When it is

properly maintained, more than $13 billion worth of cargo pass through the navigation

channel every year. Brutsché Decl. ¶ 5; see also Humphreys, J., et al., The Economic

Impact of Georgia’s Deepwater Ports on Georgia’s Economy in FY 2019 (July 2020

(attached as Ex. B). The Colonel Island Terminal is the largest automobile port in the

nation. Broadie Decl. ¶ 3.

       Part and parcel to the channel’s creation and deepening is the need to maintain it at

the Congressionally-authorized depth. In a process called shoaling, sediment naturally

builds up in navigation channels over time, which can impact navigation for large vessels.

See Broadie Decl. ¶¶ 4–7. The Brunswick Harbor entrance channel has a shoaling rate of

approximately 1,200,000 cubic yards annually. Richards Decl. ¶ 4. The Corps using

dredging to clear the sedimentation and maintain the navigation channel. Richards Decl.

¶ 4; Broadie Decl. ¶ 4.

       Of concern here is what are called trailing suction hopper dredges. Broadie Decl.

¶ 8; South Atlantic Regional Biological Opinion for Dredging and Material Placement

Activities in the Southeast United States (“2020 SARBO”) 43–47 (July 30, 2020)

(excerpts attached as Ex. C).4 Hopper dredges are ships equipped with suction pipes

trailing over the vessel’s side. Broadie Decl. ¶ 8. Dragheads at the end of the suction



4
 Given the length of the 2020 SARBO, our exhibit includes only the pages to which we
cite or that are otherwise relevant to Plaintiff’s motion. The entire document is available
at https://www.fisheries.noaa.gov/content/endangered-species-act-section-7-biological-
opinions-southeast (last visited May 14, 2021).

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pipes collect sediment and slurry, transporting it to the ship’s hopper (hence, the name)

located in the hull. Broadie Decl. ¶ 8. Once the hopper is full, the ships sails to a

designated disposal site to place the dredged material, returning to continue dredging.

See Broadie Decl. ¶ 8.

II.    The South Atlantic Regional Biological Opinion and Loggerhead Sea
       Turtles.

       Like all dredging, hopper dredging effects the environment, including species in

the vicinity. Thus, in the early 1990s, the Corps’ South Atlantic Division began

programmatic consultation with the National Marine Fisheries Service regarding the

potential for Corps maintenance dredging in the region to effect species listed as

threatened or endangered under the Endangered Species Act. See 2020 SARBO at 637–

39; id. at 13–14 (describing programmatic consultation).5

       The consultation process between the South Atlantic Division and the National

Marine Fisheries Service has been completed and reinitiated several times, resulting in a

series of “biological opinions,” which are generally identified by the opinion’s date and

the acronym SARBO, for South Atlantic Regional Biological Opinion. See 2020 SARBO

at 637–47 (describing consultation history). The National Marine Fisheries Service

issued the most-recent SARBO—the “2020 SARBO”—in March 2020. See 2020

SARBO at 1–2.




5
 The Corps is organized into several Division offices, within the geographic boundaries
of which also sit one or more District offices. See 2020 SARBO at 64. Brunswick
Harbor falls within the geographic boundaries of the Corps’ Savannah District.

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       Neither Plaintiff’s lawsuit nor the present motion challenge the Corps’ compliance

with the Endangered Species Act. But a general understanding is helpful for context.

Section 7 of the statute requires federal agencies to ensure that any action that they

authorize, fund, or carry out is not likely to “jeopardize the continued existence of any

[federally listed] endangered species or threatened species or result in the destruction or

adverse modification of [federally designated] habitat of such species . . . .” 16 U.S.C.

§ 1536(a)(2).

       Section 7 and its implementing regulations set out detailed consultation procedures

to provide action agencies with expert advice from the National Marine Fisheries Service

and/or U.S. Fish & Wildlife Service to determine the biological impacts of their proposed

activities. 16 U.S.C. § 1536(b); 50 C.F.R. Pt. 402. Section 7 consultations are concluded

after the Service(s) determine that the action is not likely to adversely affect listed species

or critical habitat, or—if the effects are likely to be adverse—issue a biological opinion

determining whether the proposed action is likely to jeopardize the continued existence of

a listed species or destroy or modify designated critical habitat. See 50 C.F.R. §§ 402.14.

Thus, in short, by conducting covered maintenance dredging in accordance with the 2020

SARBO, the Corps is in compliance with Section 7 of the Endangered Species Act.

       Plaintiff’s motion concerns potential effects on loggerhead sea turtles. The federal

government listed the loggerhead sea turtle as a threatened species in 1978, identifying

several distinct population segments.6 2020 SARBO at 203. The population segment


6
 A “threatened species” is one “which is likely to become an endangered species within
the foreseeable future throughout all or a significant portion of its range.” 16 U.S.C.
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implicated here is that in the northwest Atlantic. Id. Recovery units have been identified

for the purpose of implementing a recovery plan; the relevant one is the Northern

Recovery Unit, which spans from the Florida-Georgia boundary through southern

Virginia. Id. at 205.

       Reliably estimating loggerhead population size is difficult. See 2020 SARBO at

206. But 2009 modeling by the National Marine Fisheries Service for the northwest

Atlantic “suggest[ed] the adult female population size [was] approximately 20,000–

40,000 individuals, with a low likelihood of females’ numbering up to 70,000.” 2020

SARBO at 211. “A less robust estimate for total benthic females in the western North

Atlantic was also obtained, yielding approximately 30,000–300,000 individuals, up to

less than 1 million.” Id. “A preliminary regional abundance survey of loggerheads

within the northwestern Atlantic continental shelf for positively identified loggerhead in

all strata estimated about 588,000 loggerheads . . . . When correcting for unidentified

turtles in proportion to the ratio of identified turtles, the estimate increased to about

801,000 loggerheads . . . .” Id.

       Loggerhead mating season is from late-March to early-June, with females laying

eggs in the summer months. 2020 SARBO at 205. “Numbers of nests and nesting

females can vary widely from year to year.” Id. at 206. Female sea turtles tend to return

to the same nesting area (they have “strong nest site fidelity”), but nest only every three




§ 1532(20). An “endangered species” is one “which is in danger of extinction throughout
all or a significant portion of its range.” Id. § 1532(6).

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to four years. Id. at 205, 206. Within the Northern Recovery Unit, loggerhead nesting

trends showed declines through 2008, but have since improved. See SARBO at 208–09.

“In-water research suggests the abundance of neritic juvenile loggerheads is steady or

increasing.” Id. at 210;7 see also Nuse, Bryan L., et al., An integrated population model

for loggerhead sea turtles in the Northern Recovery Unit 21–25, 27–28, 34 (Oct. 21,

2020), ECF No. 5-8 at 93–97, 99–100, 106 (same).

         Previous iterations of the SARBO limited maintenance dredging to the winter

months. See 2020 SARBO at 637. This was done, in part, to reduce sea turtle mortality,

given that the turtles may be more abundant in warmer months and that females approach

beaches during the summer to nest. Id. at 637; see id. at 327, 339–40, 644. But the

loggerhead sea turtle is only one of twenty-five threatened or endangered species in the

relevant area. See id. at 644. The 2020 SARBO is “an approach to balance the needs of

all 25 ESA-listed species and designated critical habitats” along the southeast coast,

including “potential effects to North Atlantic right whale,” which is among the species

“identified as being at greatest risk from [maintenance dredging], without sufficient

protective measures.” 2020 SARBO at 645. See Decl. of Deborah H. Scerno (“Scerno

Decl.”) ¶ 5; Richards Decl. ¶ 6.

         Even with the shift away from winter maintenance dredging, the National Marine

Fisheries Service determined that all covered Corps maintenance dredging throughout the

South Atlantic “is not expected to cause an appreciable reduction in the likelihood of


7
    “Neritic” refers to coastal areas overlying the continental shelf.

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either the survival or recovery of loggerhead sea turtles in the wild.” 2020 SARBO at

391; see id. at 427. This included consideration of potential spring and summer

maintenance dredging at Brunswick Harbor. See 2020 SARBO at 62–65 (Corps action

area); id. at 321 (listing navigation channels).8

III.    The Planned Maintenance Dredging in Brunswick Harbor.

        Maintenance dredging in Brunswick Harbor is currently scheduled to begin on

May 25. Broadie Decl. ¶ 13. The dredging will occur at the entrance channel, where

shoaling has reduced channel depth to about twenty-nine fee—nine feet shallower than

the Congressionally-authorized depth. See Broadie Decl. ¶¶ 13; Brutsché Decl. ¶ 5. The

shallower water has led to transport restrictions or delays, which (if implemented in the

long term) could disrupt over $5 billion worth of cargo annually. Broadie Decl. ¶¶ 5–6;

Brutsché Decl. ¶ 5. The entrance channel also continues to shoal at a rate of between

100,000 to 150,000 cubic yards per month. Brutsché Decl. ¶ 5; Broadie Decl. ¶¶ 14–15.

The maintenance dredging will be conducted by two vessels over twenty days (ending




8
  Separately, Section 9 of the Endangered Species Act prohibits “take” of threatened or
endangered species without a special exemption. See 16 U.S.C. § 1538(a). The statute
defines “take” includes harm or death. See 16 U.S.C. § 1532(19). The 2020 SARBO
includes an incidental take statement—an exception to the prohibition against take—for
covered Corps activities so long as the Corps complies with conditions identified in the
2020 SARBO. See 2020 SARBO at 427–33. With respect to hopper dredging, the 2020
SARBO assumes that the estimated take of loggerhead sea turtles resulting from
entrainment—214 takes over a three period—will be lethal take. See 2020 SARBO at
322–33, 352. There is non-lethal loggerhead take associated with Corps maintenance
dredging activities (see SARBO at 430), but Plaintiff focuses its alleged irreparable harm
on lethal take.

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June 14). Broadie Decl. ¶ 13. The Corps anticipates that 1,580,000 cubic yards of

material will be removed. Broadie Decl. ¶ 13.

       The Corps implements several measures to avoid or limit loggerhead sea turtle

mortality during hopper dredging. For example, the Corps requires the dredges to use

draghead deflectors, which produce a sand wave while the dragheads operate on the sea

floor to move any turtles away from draghead’s suction. See Richards Decl. ¶ 5. All

pumps are disengaged when not on the seafloor to reduce turtle entrainment. Richards

Decl. ¶ 5. Screens are placed on and around the dragheads and inflow boxes (where

sediment enters the hopper) for the same purpose. Richards Decl. ¶ 5. Protected species

observers monitor the dredging at all times. Richards Decl. ¶ 5. The Corps also follows

any other hopper dredge requirements in the 2020 SARBO. Richards Decl. ¶ 5; see 2020

SARBO at 432–33, 529–31.

       The planned maintenance dredging at Brunswick Harbor is part of a regional

contract, which also covers three other ports in Georgia and North Carolina. Broadie

Decl. ¶ 16. The consolidated contract is intended to reduce mobilization and

demobilization costs for the dredges and, thus, contracting costs for the United States.

Broadie Decl. ¶ 16. Plaintiff has challenged and moved to preliminarily enjoin only the

maintenance dredging planned for Brunswick Harbor. See Compl. ¶¶ 1, 65–72, ECF No.

1; Pl.’s Mot. for Temp. Restraining Order & Prelim. Inj. & Mem. of Law in Supp. (“Pl.’s

Mot.”) 1–2, 20, ECF No. 5.




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                                 S TANDARD OF R EVIEW

       “[A] preliminary injunction is an extraordinary and drastic remedy, one that should

not be granted unless the movant, by a clear showing, carries the burden of persuasion.”

Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (citation omitted). An injunction “‘is

not a remedy which issues as of course[.]’” Weinberger v. Romero-Barcelo, 456 U.S.

305, 312 (1982) (citation omitted). Instead, “[a] plaintiff seeking a preliminary injunction

must establish that [1] he is likely to succeed on the merits, [2] that he is likely to suffer

irreparable harm in the absence of preliminary relief, [3] that the balance of equities tips

in his favor, and [4] that an injunction is in the public interest.” Winter v. Nat. Res. Def.

Council, 555 U.S. 7, 20 (2008).

       The burden of proof in justifying an injunction is solely on Plaintiff; Federal

Defendants bear no burden to defeat the motion. See Granny Goose Foods, Inc. v.

Brotherhood of Teamsters & Auto Truck Drivers Local No. 70 of Alameda Cnty., 415 U.S.

423, 442–43 (1974). To be entitled to preliminary injunctive relief, Plaintiff must

“clearly establish[ ] the burden of persuasion as to each of the four prerequisites.” Siegel

v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc) (emphasis added) (internal

quotations and citations omitted).

                                        A RGUMENT

       Plaintiff’s motion should be denied because Plaintiff has not shown that the

dredging in Brunswick Harbor this spring is likely to result in a species-level harm to

loggerhead sea turtles that will, in turn, diminish Plaintiff’s members’ enjoyment of that

species. Given Plaintiff’s failure to establish irreparable harm, the balance of the harms

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and public interest weigh in favor of allowing the Congressionally-authorized

navigational channel to be maintained. And, because a movant is only entitled to

preliminary injunctive relief if it can make a clear showing as to each of the four factors,

Plaintiff’s likelihood of success on the merits of its case is irrelevant, even though

Plaintiff is likely to achieve some success.

I.     Plaintiff Has Not Demonstrated a Likelihood of Irreparable Harm to Its
       Members’ Interests.

       “A showing of irreparable injury is the sine qua non of injunctive relief.” Siegel,

234 F.3d at 1176 (internal quotations and citations omitted). The movant must

“demonstrate that irreparable injury is likely in the absence of an injunction.” Winter, 555

U.S. at 22. “Issuing a preliminary injunction based only on a possibility of irreparable

harm is inconsistent with [the Supreme Court’s] characterization of injunctive relief as an

extraordinary remedy that may only be awarded upon a clear showing that the plaintiff is

entitled to such relief.” Id.

       Plaintiff makes two arguments in support of irreparable harm. Plaintiff first argues

that its members will be irreparably harmed by an allegedly lacking National

Environmental Policy Act (NEPA) review of potential effects on loggerhead sea turtles

from spring and summer dredging in Brunswick Harbor. See Pl.’s Mot. 12–13. Plaintiff

then claims that “year-round hopper dredging will almost certainly kill and injure

federally threatened loggerhead sea turtles,” id. at 13, and argues that a preliminary

injunction is necessary to prevent those deaths and also to prevent injury to Plaintiff’s

members’ enjoyment of turtles through observation, study, and photography. Id. at 16.


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When analyzing the alleged facts under the appropriate standards, however, Plaintiff’s

attempting showing quickly falls apart.

       A.     The Governing Law

       Three points of law undercut Plaintiff’s attempted showing of irreparable harm.

       First, an alleged NEPA violation is not a substitute for irreparable harm. Even

with a clear violation of a statute whose purpose is to protect the environment, a plaintiff

must still demonstrate irreparable harm to justify an injunction. See Winter, 555 U.S. at

32–33; Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 545–46 (1987). Indeed, the

Supreme Court has held that an injunction does not presumptively follow even when a

plaintiff actually prevails on a NEPA claim. Monsanto Co. v. Geertson Seed Farms, 561

U.S. 139, 157–58 (2010). The Supreme Court has also held that an injury resulting from

an alleged failure to follow a procedural requirement (like those in NEPA) is insufficient

for Article III’s less-demanding standing requirements unless the procedural violation is

accompanied by a concrete, on-the-ground injury to the plaintiff’s interests. See

Summers v. Earth Island Inst., 555 U.S. 488, 496–97 (2009); infra at 23–24 (discussing

NEPA).9

       Second, Plaintiff is incorrect that harm to the environment—here, a species—can,

standing alone, constitute irreparable harm for purposes of injunctive relief. Rather, it


9
 Sierra Club v. Marsh, 872 F.2d 497 (1st Cir. 1989), pre-dates the Supreme Court’s
more-recent precedents. See Pl.’s Mot. 12–13 (relying on case). In any event, the case
“did not mean ‘that a likely NEPA violation automatically calls for an injunction; the
balance of harms may point the other way.’” Conservation Law Found. v. Busey, 79 F.3d
1250, 1272 (1st Cir. 1996).

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must be the movant that is likely to suffer irreparable harm. Winter, 555 U.S. at 20

(requiring plaintiff to establish “that he is likely to suffer irreparable harm” (emphasis

added)); accord Friends of the Earth v. Laidlaw Envtl. Servs. (TOC), 528 U.S. 167, 181

(2000) (to demonstrate standing, a plaintiff must show that the harm “is not injury to the

environment but injury to the plaintiff”). Thus, the only relevant portion of Plaintiff’s

attempted harm showing is its claim that the alleged harm to loggerhead sea turtles would

also irreparably harm Plaintiff’s interest in the turtles. See Fund for Animals v. Frizzell,

530 F.2d 982, 986–87 (D.C. Cir. 1975).

       The cases Plaintiff cites on page sixteen of its motion do not call for a different

conclusion. Humane Society v. Hodel involved questions of standing, which (unlike the

showing necessary for injunctive relief) does not require irreparable harm. See 840 F.2d

45, 51–62 (D.C. Cir. 1988). And the harm in question was to the plaintiff-organization’s

members’ interest. See id. at 51–52. The portion of Fund for Animals, Inc. v. Lujan to

which Plaintiff cites also addresses standing. See 962 F.2d 1391, 1396 (9th Cir. 1992).

When the court there turned to the question of preliminary injunctive relief, it upheld the

district court’s conclusion that the plaintiff had failed to demonstrate irreparable harm.

See id. at 1400, 1402. Amoco Production Company v. Village of Gambell and United

States v. Jenkins also included allegations of harm to the movant’s interests. See Amoco

Prod. Co., 480 U.S. at 535 (leasing of federal lands would affect hunting and fishing

rights); United States v. Jenkins, 714 F. Supp. 2d 1213, 1216–17, 1222–23 (S.D. Ga.

2008) (harm to historical artifacts on federal land).



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       The majority of the other cases Plaintiff cites (Pl.’s Mot. 15–16) also included

allegations of harm to the movant’s interest. See Miccosukee Tribe of Indians of Fla. v.

United States, No. 08-21747-CIV, 2008 WL 11332080, at *11 (S.D. Fla. Nov. 14, 2008)

(flooding could affect plaintiff’s property); Sierra Club v. Norton, 207 F. Supp. 2d 1310,

1317 (S.D. Ala. 2002) (relying, for standing purposes, on a prior case involving the same

species, which noted the same plaintiff’s members’ recreational interest in observing

wildlife (citing Sierra Club v. Babbitt, 15 F. Supp. 2d 1274, 1276–77 (S.D. Ala. 1998)));

Fund For Animals v. Norton, 281 F. Supp. 2d 209, 222 (D.D.C. 2003) (asserting harm to

ability to view and interact with wildlife); Fund For Animals v. Clark, 27 F. Supp. 2d 8,

14 (D.D.C. 1998) (plaintiff lived near and enjoyed observing and photographing bison).

       As for the three of Plaintiff’s cited cases that appear to base irreparable harm

solely on harm to the environment, two involved construction projects challenged by

local or regional organizations (whose members presumably lived nearby). See Fla.

Wildlife Fed’n v. U.S. Army Corps of Eng’rs, 404 F. Supp. 2d 1352, 1354 (S.D. Fla.

2005); Protect Key W., Inc. v. Cheney, 795 F. Supp. 1552, 1554 (S.D. Fla. 1992). The

third was reversed because the statute under which the case arose did not apply to the

federal government—the agency could not be enjoined to begin with. See Sierra Club v.

Martin, 933 F. Supp. 1559, 1570 (N.D. Ga. 1996), rev’d, 110 F.3d 1551 (11th Cir. 1997).

       Third, harm to individuals of a species is generally not enough to demonstrate

irreparable injury to a plaintiff’s interest in that species. Instead, the movant must show

harm at the species level. See W. Watersheds Project v. Bernhardt, 468 F. Supp. 3d 29,

47–48 (D.D.C. 2020) (“[N]either is the court convinced that the killing of a single

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member of a threatened species constitutes irreparable harm . . . [t]he case law simply

does not support such a conclusion.”); Idaho Rivers United v. U.S. Army Corps of Eng’rs,

156 F. Supp. 3d 1252, 1262–63 (W.D. Wash. 2015). This does not mean that Plaintiff

must demonstrate a likelihood of extinction-level harm, but rather a population-level

impact significant enough to irreparably injure Plaintiff’s members’ stated interests.10

       B.     Plaintiff Has Failed to Meet Its Burden.

       Here, Plaintiff has failed to demonstrate that this spring’s planned maintenance

dredging in Brunswick Harbor is likely to harm loggerhead sea turtles at a level that

would diminish Plaintiff’s members’ interest in protection, observation, study, and

photography of the species. “This is not to say that the injuries Plaintiff[ ] assert[s] are

not real, but rather that . . . the injury is not irreparable.” SUWA, 811 F. Supp. at 642.

       For example, none of Plaintiff’s declarants attempt to opine on the population-

level effect this spring’s dredging would have on the relevant loggerhead population

segment. Instead, the declarants either assume a negative impact or make conclusory




10
  Courts have frequently denied injunctive relief for a failure to demonstrate species-
level harm. See, e.g., Water Keeper All. v. U.S. Dep’t of Defense, 271 F.3d 21, 34 (1st
Cir. 2001) (no showing on “how these deaths may impact the species”); Defenders of
Wildlife v. Salazar, 812 F. Supp. 2d 1205, 1209–11 (D. Mont. 2009) (no proof that harm
would be significant for the species as a whole); Fund for Animals v. Mainella, 294 F.
Supp. 2d 46, 58 (D.D.C. 2003) (the “six-day hunt is not designed to eradicate or even
significantly reduce the black bear population”); Fund for Animals v. Babbitt, 2 F. Supp.
2d 562, 566–67 (D. Vt. 1996) (“The plaintiffs have presented virtually no concrete
evidence to support their contention that their ability to view or photograph moose will be
impaired as a result of the proposed limited hunt.”); S. Utah Wilderness All. (SUWA) v.
Thompson, 811 F. Supp. 635, 642 (D. Utah 1993) (failure to establish irreparable injury
because “the coyote population [would] remain viable . . . .”).

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statements. See Norton Decl. ¶¶ 21–22, 24 , ECF No. 5-5; Ridley Decl. ¶¶ 20, 22, ECF

No. 5-19; Bell Decl. ¶ 12, ECF No. 5-20; Carroll Decl. ¶ 18, ECF No. 5-21; Janssen

Decl. ¶ 10 ECF No. 5-22. A finding of irreparable harm cannot be based on conjecture or

speculation. See Siegel, 234 F.3d at 1176.

       The National Marine Fisheries Service, on the other hand, has opined on the

expected impact that future Corps maintenance dredging will have on loggerhead sea

turtles. See 2020 SARBO at 388–91. The Service concluded that, even when considered

together, all Corps maintenance dredging activity throughout the South Atlantic—let

alone just that planned for this spring at Brunswick Harbor—“is not expected to cause an

appreciable reduction in the likelihood of either the survival or recovery of loggerhead

sea turtles in the wild.” 2020 SARBO at 391; see id. at 427.11

       Plaintiff relies on Brunswick Harbor dredging that occurred in September 2009,

during which four loggerhead mortalities occurred over nine days. See Pl.’s Mot. 14

(citing DRN Mem., ECF No. 5-4 at 4). But the document to which Plaintiff cites—a

Georgia Department of Natural Resources memorandum from Mark Dodd—notes that,

given the small sample size, “[t]he results may not be representative of all summer

dredging in all years.” ECF No. 5-6 at 4. More importantly, however, the memorandum

describes how, when it observed the larger than anticipated loggerhead mortality, the

Corps stopped dredging. See id. (“the project was discontinued.”). Plaintiff’s motion


11
  “To the extent Plaintiff[ ] [is] dissatisfied with the 2020 SARBO’s substantive
conclusions, such a challenge would have to be made against NMFS and not the Corps.”
Altamaha Riverkeeper v. U.S. Army Corps of Eng’rs, No. 4:18-cv-251-JRH-CLR, 2020
WL 5837650 at *18 (S.D. Ga. Sept. 30, 2020).
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also acknowledges that practice. See Pl.’s Mot. at 14. “The Corps would not and could

not allow a single project to use all the take authorized under the 2020 SARBO since [the

Corps] must manage all navigation projects under the 2020 SARBO . . . .” Scerno Decl.

¶ 8. And, for all the covered Corps maintenance operations, the 2020 SARBO authorizes

the collective observed lethal take of only 107 logger sea turtles over any three period.

See 2020 SARBO at 430. Even during the winter, the Corps has stopped dredging

activities where observed loggerhead mortality was greater than anticipated. See Bed

Leveler Evaluation Report 3 (Jan. 2015) (ECF No. 5-8 at 115).

       Plaintiff is misplaced in focusing on the fact that the 2020 SARBO allows for

lethal take of up to 214 loggerheads over any three-year period. See Pl.’s Mot. 14. The

total take level is a regional one and says nothing about Brunswick Harbor specifically,

let alone this spring’s planned dredging. It also is the very same take level that the

National Marine Fisheries Service assumed would occur when concluding that the Corps’

maintenance dredging in the region is not expected to cause an appreciable reduction in

the likelihood of species survival or recovery. See 2020 SARBO at 388. Plaintiff appears

particularly concerned about the potential death of pregnant female loggerheads on their

way to nest. See Pl.’s Mot. 13–14. But the National Marine Fisheries Service separately

considered that potential (in the form 65 lost egg clutches) as part of its analysis. See

2020 SARBO at 388–91.12



12
  Plaintiff’s assertion (Pl.’s Mot. 14) that “as many as 87% of the females nesting in the
vicinity of the Brunswick shipping channel” could be killed assumes, without any support
for the assumptions, that: (1) the entirety of the 2020 SARBO’s authorized lethal
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       Plaintiff’s other exhibits similarly do not help its argument. The Georgia

Department of Natural Resources memorandum states (in Table 1) that a total of thirty-

five loggerheads were killed during twenty-six years of periodic maintenance dredging at

Brunswick Harbor—not even two a year. See DNR Mem., ECF No. 5-4 at 3–4. The

study on the docket at ECF No. 5-6 and to which Plaintiff cites (Pl.’s Mot. 13) estimates

that, after 1992, total sea turtle (not just loggerhead) take “ranged from 0.25 to 1.87

turtles per project.” ECF No. 5-6 at 9.

       Plaintiff’s proffered facts do not support a conclusion that this spring’s planned

maintenance dredging in Brunswick Harbor is likely to result in population-level harm to

loggerhead sea turtles. Plaintiff’s motion should be denied on that basis alone. See

Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016) (“Because

[plaintiff] must meet all four prerequisites to obtain a preliminary injunction, failure to

meet even one dooms its appeal.” (citing Siegel, 234 F.3d at 1176)).

II.    The Balance of the Equities Weighs Against Preliminary Injunctive
       Relief.

       Plaintiff also has not met its burden to demonstrate that the balance of the relative

harms and the public interest weigh in favor of an injunction. Those two factors “merge

when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

In determining whether to issue an injunction, courts “‘must balance the competing

claims of injury and must consider the effect on each party of the granting or withholding



loggerhead take over any three year period (214) would occur during this spring in
Brunswick Harbor; and (2) all of the loggerheads would be females.

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of the requested relief.’” Winter, 555 U.S. at 24 (citation omitted). “‘In exercising their

sound discretion, courts of equity should pay particular regard for the public

consequences in employing the extraordinary remedy of injunction.’” Id. (quoting

Romero-Barcelo, 456 U.S. at 312).

       Shoaling has altered the Brunswick Harbor navigation channel’s Congressionally-

authorized dimensions. Brutsché Decl. ¶ 5. That alteration is impacting shipping, as

vessels need to wait for high tide to navigate into the Harbor. Broadie Decl. ¶¶ 5–6. The

navigational impacts, in turn, have economic consequences. See Brutsché Decl. ¶ 5;

Broadie Decl. ¶ 6. The channel also continues to shoal. Brutsché Decl. ¶ 5. Thus, the

delays and economic harms will continue (and potentially worsen) until the relevant areas

of the navigation channel can be dredged. Brutsché Decl. ¶ 5; Broadie Decl. ¶¶ 15, 17.

       Plaintiff attempt to counter that harm with the potential harm to loggerhead sea

turtles. See Pl.’s Mot. at 17. As explained above, that showing does not rise to a level

that would justify preliminary injunctive relief. In any event, Plaintiff is not on as solid

ground as it would seem in asserting that an injunction and any resulting winter (as

opposed to spring and summer) dredging would necessarily avoid environmental harm.

Dredging during the winter also has the potential to harm threatened and endangered

species, including the North Atlantic right whale. Richards Decl. ¶ 6. For that reason,

among others, the National Marine Fisheries Services removed from the 2020 SARBO

the seasonal dredging requirements that been included in prior iterations. Scerno Decl.

¶ 7; See 2020 SARBO at 644–46. Even with respect to sea turtles, Plaintiff’s

submissions show that mortality can occur during the winter dredging for which Plaintiff

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advocates. See Bed Leveler Evaluation Report 3 (Jan. 2015), ECF No. 5-8 at 115 (noting

six incidental takes of sea turtles over eleven days of dredging, and three incidental takes

on one day)Brief. The Corps also may suffer contract costs and programmatic impacts if

an injunction issues. See Broadie Decl. ¶ 16.

        Plaintiffs is certainly correct that there is a public interest in compliance with the

law. See Pl.’s Mot. at 19. But this is not a case in which no NEPA compliance has

occurred; the Corps completed an Environmental Impact Statement for Harbor deepening

and maintenance in 1998. See ECF No. 5-16. And the Corps’ maintenance of the

navigation channel is an on-going activity, with dredging occurring as needed and as

Congressional appropriations allow. See Broadie Decl. ¶¶ 4, 14. Thus, if this spring’s

dredging proceeds, NEPA’s purposes could still be served by the Corps undertaking

further NEPA review (or explaining its reasons for not doing so) before any future spring

or summer maintenance dredging in Brunswick Harbor. Given its nature as an APA case,

we expect that this matter would be resolved through dispositive briefing (or by some

other means) before next spring. The balance of the harms weighs against preliminary

injunctive relief.

III.    A Likelihood of Success on the Merits Cannot Overcome Plaintiff’s
        Failure to Demonstrate Irreparable Harm or Balance of the Harms.

        Plaintiff asserts that the Corps should have supplemented its 1998 Environmental

Impact Statement (or undertaken an independent NEPA review) to consider impacts on

loggerhead sea turtles that could occur from maintenance spring or summer dredging.

See Compl. ¶¶ 65–72. Given Plaintiff’s failure to demonstrate irreparable harm and a


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favorable balance of the harms, the Court need not consider Plaintiff’s likelihood of

success on the merits. See Winter, 555 U.S. at 32–33; Wreal, 840 F.3d at 1248.

       Nonetheless, as explain below, Plaintiff is likely to succeed on an argument that

the Corps procedurally erred in failing to explain why it chose not undertake additional

NEPA review. But Plaintiff’s likelihood of success on the merits does not relieve Plaintiff

from its burden to make a clear showing under the other necessary factors for preliminary

injunctive relief. See Siegel, 234 F.3d at 1176.

       The Administrative Procedure Act. Claims alleging federal agency violations of

NEPA are reviewed under the Administrative Procedures Act (APA), 5 U.S.C. § 706.

Sierra Club v. Van Antwerp, 526 F.3d 1353, 1359–60 (11th Cir. 2008); Compl. ¶¶ 63–64,

72. Under the APA, the district courts act like appellate tribunals, reviewing the agency’s

decision and administrative record only to determine whether the agency acted arbitrarily

and capriciously or contrary to law. See Georgia v. Wheeler, 418 F. Supp. 3d 1336, 1348

(S.D. Ga. 2019). “Along the standard of review continuum, the arbitrary and capricious

standard gives an appellate court the least latitude in finding grounds for reversal.” N.

Buckhead Civic Ass’n v. Skinner, 903 F.2d 1533, 1538 (11th Cir. 1990). “The reviewing

court may not substitute its judgment for that of the agency but must, instead, defer to the

agency's technical expertise.” City of Oxford v. FAA, 428 F.3d 1346, 1352 (11th Cir.

2005). “[A] party seeking to have a court declare an agency action to be arbitrary and

capricious carries ‘a heavy burden indeed.’” Legal Env’t Assistance Found. Inc. v. EPA,

276 F.3d 1253, 1265 (11th Cir. 2001) (citation omitted).



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       “Nevertheless, the agency must examine the relevant data and articulate a

satisfactory explanation for its action including ‘rational connection between the facts

found and the choice made.’” Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983) (citation omitted). If an agency explanation is lacking

such that “the reviewing court simply cannot evaluate the challenged agency action on

the basis of the record before it, the proper course, except in rare circumstances, is to

remand to the agency for additional investigation or explanation. The reviewing court is

not generally empowered to conduct a de novo inquiry into the matter being reviewed and

to reach its own conclusions based on such an inquiry.” Fla. Power & Light Co. v.

Lorion, 470 U.S. 729, 744 (1985); see Motor Vehicle Mfrs., 463 U.S. at 55–57.

       The National Environmental Policy Act. NEPA aims to focus federal agency

attention on a proposed federal action’s potential environmental impacts so that those

impacts can be considered in agency decision-making. See Marsh v. Or. Nat. Res.

Council, 490 U.S. 360, 371 (1989); 42 U.S.C. § 4332(2)(C). NEPA, however, does not

require environmentally-friendly action; “it simply prescribes the necessary process.”

Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350 (1989) (citations

omitted); Vt. Yankee Nuclear Power Corp. v. Nat. Res. Def. Council, 435 U.S. 519, 558

(1978). Agencies are to accomplish NEPA’s goals through development of an

environmental review document: either an environmental impacts statement or, if it is




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likely that impacts will not be significant, a less-demanding environmental assessment.

See 40 C.F.R. §§ 1501.5, 1502.1.13

       Consistent with the structure of APA review, the courts’ role in reviewing agency

compliance with NEPA is a limited one. Courts are only to “insure that the agency has

considered the environmental consequences” of its proposed action, not to “‘interject

[themselves] within the area of discretion of the executive as to the choice of the action to

be taken.’” Citizens Against Burlington, Inc. v. Busey, 938 F.2d 190, 194 (D.C. Cir.

1991) (quoting Stryker’s Bay Neighborhood Council, Inc. v. Karlen, 444 U.S. 223, 227–

28 (1980) (per curiam)).

       The NEPA issue here is one of “supplementation”—agencies are to “prepare

supplements” to their environment impact statements in certain circumstances where “a

major Federal action remains to occur[.]” 40 C.F.R. § 1502.9(d)(1). Agencies, however,

may also conclude that those conditions are not met “and therefore do not require a

supplement[.]” Id. § 1502.9(d)(4).

       The Corps informs us that it did not document its reasoning and explanation for

deciding to proceed with this spring’s maintenance dredging at Brunswick Harbor

without additional NEPA review. Thus, it is likely that a remand to the Corps will be




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  Council on Environmental Quality regulations govern agency NEPA implementation,
the current version of which became effective on September 14, 2020. See 85 Fed. Reg.
43,304 (July 16, 2020); 40 C.F.R. pts. 1500–1508 (2020). Though we cite here to the
current regulations, there may be a question as to whether the current or former
regulations are applicable in this case.

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necessary in this case so that the agency can provide an explanation. See Fla. Power &

Light, 470 U.S. at 744.

       Because the Corps has previously conducted NEPA review for its maintenance

dredging program in Brunswick Harbor, however, any error here would be a procedural

one under the APA, not necessarily a violation of NEPA. See 40 C.F.R. § 1502.9(d)(1),

(4). Only with an agency explanation to review would the Court be able to determine

whether the decision not to conduct additional NEPA review was arbitrary and capricious

or contrary to law. Though Plaintiff’s Complaint does not explicitly raise failure to

explain as a basis for its allegations of arbitrary decision-making, we acknowledge that,

until the Corps has provided an explanation for its decision, Plaintiff is likely to succeed

on such an argument. But, as explained above, Plaintiff has failed to meet its burden with

respect to the other factors.

IV.    The Temporal Reach of Plaintiff’s Requested Injunction Is Not
       Appropriate.

       Finally, even if Plaintiff had met its burden (it has not), the injunction that Plaintiff

requests goes too far. Plaintiff “asks the Court to enjoin the Corps from conducting

hopper dredging outside of traditional winter dredging windows until the agency has

conducted a legally sufficient evaluation of the environmental impacts of dredging

between April 1 and December 14.” Pl.’s Mot. 1–2. The request is overly broad and is

the same relief Plaintiff requests on the merits. See Compl. at 12 (prayer for relief).

Preliminary injunctive relief is intended to prevent irreparable harm during the pendency

of litigation. Thus, the length of any preliminary injunction would need to be tied to an


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order resolving the merits of Plaintiff’s claims or otherwise disposing of the case. See

Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1327 (11th Cir. 2019) (“[T]he

purpose of the injunction is not to conclusively determine the rights of parties, but only to

balance the equities in the interim as the litigation proceeds.” (citing Trump v. Int’l

Refugee Assistance Project, 137 S. Ct. 2080, 2087 (2017)).

                                       C ONCLUSION

       Plaintiff has failed to meet its burden to demonstrate irreparable harm because it

has not shown that the planned dredging will result in a species-level harm to loggerhead

sea turtles that will impact Plaintiff’s members’ enjoyment of the species. Because that

showing is a necessary perquisite to injunctive relief, and because the balance of the

harms and public interest weigh in favor of channel maintenance, Plaintiff’s motion

should be denied.


May 14, 2021


DAVID H. ESTES                                     JEAN E. WILLIAMS
Acting United States Attorney                      Acting Assistant Attorney General

__s/ O. Woelke Leithart________                    _s/ Kristofor R. Swanson______
O. WOELKE LEITHART                                 KRISTOFOR R. SWANSON
(Idaho Bar No. 9257)                               (Colo. Bar. No. 39378)
Assistant United States Attorney                   Natural Resources Section
U.S. Attorney’s Office                             Env’t & Natural Resources Div.
Post Office Box 8970                               U.S. Department of Justice
Savannah, Georgia 31412                            P.O. Box 7611
Tel: (912) 652-4422                                Washington, DC 20044-7611
Woelke.Leithart@usdoj.gov                          Tel: (202) 305-0248
                                                   kristofor.swanson@usdoj.gov



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